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 2                                 UNITED STATES DISTRICT COURT
 3                                         DISTRICT OF NEVADA
 4                                                    ***
 5    Kim Bernadette Jacques,                                Case No. 2:20-cv-00079-RFB-BNW
 6                            Plaintiff,
                                                             ORDER
 7            v.
 8    Albertson’s LLC, et al.,
 9                            Defendant.
10

11            Before the Court is plaintiff Kim Bernadette Jacques’s application to proceed in forma

12   pauperis (ECF No. 20). Jacques’s application is incomplete and the Court will therefore deny her

13   application without prejudice. Jacques may file a new application by May 27, 2020.

14            Question 3 of the application lists six categories of “other income” sources and asks

15   applicants to mark either “yes” or “no” next to each source. ECF No. 20 at 1. If “yes” is marked

16   next to any of the sources, applicants must “describe . . . each source of money and state the

17   amount that [they] received and what [they] expect to receive in the future.” Id. On question 6,

18   applicants are required to “describe and provide” their “regular monthly expenses,” including “the

19   amount of the monthly expense.” Id. at 2.

20            Here, Jacques’s application is incomplete in at least three respects. First, on question 3,

21   Jacques marked “yes” next to “[d]isability, or worker’s compensation payments.” Id. at 1.

22   However, she did not, as required, describe the source of income (i.e., disability or worker’s

23   compensation payments) nor list the amount that she receives or expects to receive in the future

24   from that source. Id. Second, Jacques did not mark “yes” or “no” for the remaining sources of

25   income listed in question 3. Id. Third, Jacques did not describe her monthly expenses on

26   question 6. Id. at 2. Instead, Jacques merely listed the sum total of her monthly expenses without

27   giving a breakdown of what those monthly expenses are (i.e., how much money is spent on rent,

28   utilities, etc.).
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 1          IT IS THEREFORE ORDERED that plaintiff Kim Bernadette Jacques’s application to

 2   proceed in forma pauperis (ECF No. 20) is DENIED without prejudice. If plaintiff intends to file

 3   a new application, she must do so by May 27, 2020.

 4          DATED: May 6, 2020.

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 6
                                                          BRENDA WEKSLER
 7                                                        UNITED STATES MAGISTRATE JUDGE
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